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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
v.                                            )       Case No. CR-18-227-SLP
                                              )
JOSEPH MALDONADO-PASSAGE,                     )
                                              )
               Defendant.                     )

                                      ORDER

       Pursuant to the Order entered December 21, 2018 [Doc. No. 51], this matter is set

for Jury Trial on March 12, 2018.      Accordingly, the following Trial deadlines are

established:

       1. Tuesday, March 5, 2019, at 2:00 p.m., in Chambers, Pretrial Conference

          pursuant to Fed. R. Crim P. 17.1;

       2. Tuesday, March 12, 2019, at 9:30 a.m., Jury Selection; and

       3. Monday, March 25, 2019, Jury Trial to commence.

       IT IS SO ORDERED this 27th day of February, 2019.
